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                              UM TED STATES DISTRICT COURT
                              SO UTH ERN D ISTM CT O F FL O RID A

                            CA SE N O .18-81258-CV -M IDD LEBRO OK S

   JUDITH M AR-ILYN DON OFF,on behalfof
   herselfand a1lotherssimilady situated,
                                                                         FILED BY
          Plaintiff,                                                                              D.C.
                                                                               JAN 1#292                 ,
                                                                              ANGELAE   2
                                                                            CLERKU S . NOBLE
   DELTA AIR LINES,lNC.,                                                    s.o.       DISI CI
                                                                                 ogFkà. - w.ee
                                                                                              .

          D efendant.                                                                                .


                                                       /

                       O RD ER O N M O TIO N FOR C LA SS C ER TIFIC ATIO N

          THIS CAUSE com es before the Courton PlaintiffW alter Cappillo's M otion for Class

   Certification,fled on December16,2019.(DE 205).DefendantDeltaAirLines,Inc.responded
   on Decem ber 30,2019,and Plaintiffreplied on January 6,2020. (DE 206;DE 212).Forthe

   follow ing reasons,the M otion is denied.

                                           BA CK G R O U ND

          PlaintiffallegesthatDefendant,through itswebsite and the onlineprocessofpurchasing

   tl'ip insurance,engagesin aschemeto induceitscustom ersto pm chase and ovep ay forinsurance

   w hile concealing its ow n tsnancialinterestin policy sales.

          In the Fourth Am ended Complaint,which is the operative com plaint,Plaintiffraises a .

   claim tmderFlorida's Deceptive and UnfairTrade Practices Act(GTDUTPA'') and an tmjust
   endchmentclaim.(DE 202).Plaintiffnow iovesforclasscertifcation ofbothclnims.(DE 205).
                                        LE G AT,STA ND AR D

          tt-rhe class action is Garlexception to the usualrule that litigation is conducted by and on

   behalfofthe individualnnmed partieson1y.'''Wal-M artStoresInc.v.Dukes,564 U .S.338,349
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   (2O11)(quoting Calfano v.Yamasaki,442 U.S.682,700-01 (1979)).GIA party seeking class
   certification mustaffirmatively demonstrate compliancewith gFederalRule ofCivilProcedure
   23qg,q''ii at 350,and çtlaq district courtmust conduct a rigorous analysis of the nzle 23
   prerequisitesbeforecertifying aclass.''Vegav.T-M obile USA,Inc.,564 F.3d 1256,1266 (11th
   Cir. 2009)(ci
               tationsand internalquotation marksomitted).zM though the trialcourtshould not
                                                          G

                                                  e                    .

   determine the merits ofplaintiffs'claim atthe class certifcation stage,the trialcourtcan and

   should consider the m erits of the case to the degree necessary to determ ine whether the

   requirem entsofRule 23 willbe satislied.''Valley Drug Co.v.Geneva Pharms.,Inc.,350 F.3d

   1181,1188n.15(111 Cir.2003).Thus,adistlictcourtmayGGprobebehindthepleadingsbefore
   coming to reston thecertitkation questiong,q''lasttll.
                                                        ule23 doesnotsetforth amerepleading
   standard.''Wal-M art,131S.Ct.at2551;accordCoopers(#7Lybrand v.Livesay,437U .S.463,469

   & n.12(1978)(I<Theclassdetermination generallyinvolvesconsiderationsthatareGenmeshed in
   thefactualand legalissuescompdsingtheplaintiY scauseofaction.'...G(T)hemorecomplex
   determinationsrequ/ed in Rule23(b)(3)classactionsentaileven greaterentanglementw111Athe'
   merits-''')(internalcitationsomitted).
          itF'
             ora districtcourtto certify a classaction,thennmed plaintiffsm usthavestanding,arld

   thep'
       utativeclassmustmeeteachoftherequirementsspecifedin lRule23(a)j,aswellasatleast
   0neoftherequirementssetforthinRule23(b).''Vega,564F.3dat1265.Inaddition,ttlaqplsintiff
   seeking certifcation ofa claim forclasskeatmentm ustproposean adequately defned classthat

   satisfestherequirementsofRule23.''Abbyv.Paige,282F.R.D.576,578(S.D.Fla.2012)(citing
   Kelecseny v.Chevron,U S.A.,Inc.,262F.R.D.660,667(S.D.Fla.2009:.tt-f'
                                                                      heburden ofproof



    îGen. Tel.Co.ofsw.v.Falcon,457U.S.147,160(1982).

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   to establish thepropriety ofclasscertification restswith the advocate ofthe class.'' Valley Drug

   Co.,350 F.3d at1187.

          UnderRule23(a),aputativeclassmayonly becertifiedif:
            (1)theclassissonllmerousthatjoinderofa11membersisimpracticable;
            (2)therearequestionsof1aw orfactcommontotheclass;
            (3)theclnimsordefensesoftherepresentativepartiesaretypicaloftheclaims
            ordefensesoftheclass;and

            (4)therepresentativepartieswillfairly and adequately protecttheinterestsof
            the class.

   Fed.R.Civ.P.23(a).
          Asto Rule 23(a)(1)'s nllmerosity requirement,the Eleventh Circuitûthas (j made it
   abtmdantly clearthattheburden to satisfy n'lmerosity ison theplaintiffseeldng to certify a class,

    arld aplaintiffisnotpermitted to m ake a pttrely speculative showing thatnumerosity hasbeen

   met''Abby,282F.R.D.at578 (citingKelecseny,262F.R.D.at669);seealso Vega,564F.3d at
    1266-67.GtundertheRule23(a)(2)commonalityrequizement,aclassaction mustinvolveissues
   thataresusceptibletoclass-wideproof.''Murrayv.Auslander,244F.3d807,811(111 CiT.2001).
   The Rule 23(a)(3) typicality requirement is similar to the commonality requirement but
    distinguishablebecause,ttlajlthoughtypicalityandcommonalitymayberelated,''thetwoconcepts
    havebeendistlguishedinthatGtgtjraditipnallycommonalityreferstothegroup chazacteristicsof
   the classasawhole,whiletypicalityrefersto theindividualcharacteristicsofthennmed plaintiff

    inrelationtotheclass.'' Vega,564F.3dat1275(quotingPiazzav.EbscoIndus.,Inc.,273F.3d
    1341,1346(11thCir.2001)).Further,Rule23(a)(4)mandatesthatthenamedplnintiffmustproye
    that(1)noconflictofinterestexistsbelveenherandtheputativeclassmembersarldthat(2)the
    actionwillbevigorouslyprosecuted.SeeSosnav.Iowa,419U.S.393,403 (1975).


                                                  3
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            IfthethresholdissueofRule23(a)hasbeen resolved,courtsmustthendeterminewhether
   theproposed certifcation ofaclasssatisfestherequirementsofRule 23(b). fittlev.T-Mobile
    USA,Inc.,691F.3d 1302,1304 (11th Cir.2012).Here,Plaintiffseekscertiscation tmderRule
   both 23(b)(2) arld (3). The party seeking certification ofa class lmder Rule 23(b)(3) must
   dem onstratethatcom mon questionspredom inate overindividualinterestsand thataclassaction

   isthesupedormeansofadjudicatingsuchaconkoversy.Amchem Products,Inc.v.Windsor,521
   U.S.591,623 (1997).&
                   .  &:Elqn detennining whetherclassorindividualissuespredominate in a
   putativeclassaction suit,gtheCourtqmusttakeintoaccotmttheclaims,defenses,relevantfacts,
   and applicable substantive 1aw .'''CoastalAèzfe /tpgy,lnc.v.State Farm M ut.Auto.Ins.Co.,458

   F.App'x793,794(11thCir.2012)(quotingKlayv.HumanaInc.,382F.3d 1241,1255(111 Cir.
   2004),abrogated inpartonothergroundsbyBridgev.PhoenixBonddnIndem.Co.,553U.S.639
   (2008)).SuperiodtyisdeterminedwherethemovingpartycandemonstrateGv creasedefficiency''
   throughtheclassmechanism.Jackson v.Motel6MultèurposeInc.,130 F.3d 999,1006 (11th
   Cir.1997).In determiningwhethertherequirementsofRule23(b)(3)havebeen satisfied,courts
   also look to:

            (1)the class members'interests in individually conkolling the prosecution or
            defense ofseparate actions;

            (2)theextentandnatureofanylitigationconcenlingtheconkoversyalreadybegun
            by oragainstclassm em bers;

            (3)thedesirabilityorundesirabilityofconcentratingthelitigation oftheclnirnsin
            theparticularfonzm ;and

            (4)thelikelydifikultiesinmanagingaclassaction.
    Vega,564 F.3d at1277 (quoting Fed.R.Civ.P.23(b)). El'l'he burden ofproofto establish the
   propdety ofclasscertifkation restswith theadvocate oftheclass.'' Valley Drug Co.,350 F.3d at

    1187.
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          A plaintiffbearstheburden ofestablisMng thathehasstanding.SeeKoziara v.City of
   Casselberry,392F.3d 1302,1304(11thCir.2004)(citingLujanv.De# ndersofWildlfe,504U.S.
   555,561(1992:.Toestablish standing,aplaintiffmustprove:(1)hesufferedan Gtinjut'yin fact,''
   or an injul.y that is concrete and particularized and acmal or imminent,not conjectural or
   hypothetical;(2)acausalconnectionbetweentheinjuryandtheconductcomplainedof;and(3)it
   isttlikely,''asopposed tomerely GGspeculative,''thattheinjurywillbere/essed by afavorable
   decision. Resnick v.AvMe4 Inc.,693 F.3d 1317,1323 (111 Cir.2012) (internalquotations
   Omitted)(citingFriendsoftheEarth,Inc.v.faidlaw Envtl.kgnw.(IOC),Inc.,528U.S.167,180-
    81(2000:;FocusontheFamily v.PinellasSuncoastTransitAuth,344F.3d 1263,1272 (111
    Cir.2003)(citingLujan,504U.S.at560-01).
                                            M A LY SIS

           Rule23(a)Requirements
           a. N um erosity

           ln theM otion,Plaintiffseeks certifcation ofaclassdefned as:G$Al1Florida citizenswho

   purchased a tdp insuranee policy on (Defendant'sqwebsite within the applicable limitations
    period.'' (DE 205 at14).Plaintiffarguesthatthemlmerosity componentofRule 23(a)(1)is
    satisfed because Defendr thas tGsoldhtmdreds.
                                                ofthousatldsoftrip instlrancepoliciesio Florida

    consllmersthroughits'websiteduringtheClmssperiod.''(1d at15).
         ûW lthoughm ereallegationsofnllnnerosityareinsuffcienttomeetthisprerequisite,aplnintiff

    need not show the precise nllm ber ofm em bers in the clœss.'' Evans v.U S.Pi
                                                                                p e (ê Foundry Co.,

    696 F.2d 925,930 (111 Cir.1983). lGNevertheless,aplaintiffstillbearstheburden ofmnking
    some showing,affording thedistrictcourtthem earlstom akeasupported factualfnding,thatthe

    cl% sactually certifed meetsthe nllmerosityrequirem ent'' Vega,564F.3dat1267.
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           TheEleventh Circuit'snnm erosity analysisin Vega isespecially instructivehere.In Vega,

   thedistrictjudgegrantedamotion forclasscertitkation,certifyingthefollowing clmss:G:(aq11T-
   M obileemployeesin Floridawho receivedcommissionsforthe saleofT-M obileprepaid cellular

   telephoneplans,butwerechargedbackbyT-M obileforthosecommissionsl.q''564F.3dat1264.
   Theonly evidencesupporting the numerosity elementwasthetestim ony ofaT-M obile executive

   who statedthatthenllmberofT-M obileemployeesdllring theclasspedodwasçiinthethousands.''

   ld at 1267. The Eleventh Cizcuitreversed the tdalcourt'scertification order,reasoning in pat't

   that this evidence w as insuflk ient to establish the nzlm erosity elem ent for a class com pdsed

    exclusivelyofFlorida T-M obileemployees. SeeftftltW l&ilethiscompmly-widetestimony emsily
    would constitm e a sufficientbasisforafm ding ofnlpmerosity asitrelatesto a nationwide class,

    thedistrictcourt,siglliscantly,certiledaFlorida-onlyclass.'').
           The Courtfurther acknowledged that,GT-M obile is a large com pany,with m any retail

    outlets,and,as such,itm ightbe tem pting to assllm e thatthe nllm berofretailsales associatesthe

    company employed in Flodda during therelevantperiod can overcome thegenerally 1ow hurdle

    presentedbyRule23(a)(1).''Id.However,çGaplaintiffstillbearstheburden ofestablishingevery
    elem ent of Rule 23 ...and a district court's factllnlfm dings m ustfind supportin the evidence

    beforeit.'' Id Becausethe districtcourt'snllm erosity fh dingw asçGwithouttheaid ofashred of

    Florida-onlyevidence(andjwasanexercisein sheerspeculation,''theEleventhCircuitconcluded
    thatthe disi ctcourtabused itsdiscretion by linding the nllm erosity requirem entwassatissed.

    16L;seealsoHayesv.Wal-M artStores,Inc.,7l5F.3d349,358(3dCir.2013)(GçlW qhereaputative
    class is som e subsetofa largerpool,the trialcourtm ay notinfer nllm erosity f'
                                                                                  rom the nllm berin

    thelargerpoola1one.'').
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          In m aking the argttm entthatthe nllm erosity prong hasbeen satisfied,Plaintiffrelies on

   evidencethatisalmostidenticaltotheevidencerelieduponbythedistrictjudgein Vega.lPlaintiff
   specitkallycitesthedepositiontestimony ofElmarTnzst- Defendant'sRule30(b)(6)corporate
   representative.(SeeDE 205at15).In hisdepositionTrustwasaskedwhetheritwast:fairtosay
   that...in atypicalyear,in wllich you had responsibility forthe travelinstlranceprogrnm,that

   htmclredsofthousands ofpolicieswere soldto Delta'sconsllm ers?''And Trustresponded E1Yes.''

   (DE 205-1at41:10-15).TllisstatementappearstooffertestimonyofDefendant'snationwidesale
   oftrip insurance and notFlorida sales.Trust's deposition occurred on Februat'y 6,2019,and

   around thattim e Plaintiffhad filed a Second Amended Complaint indicating thathe sled this

   lawsuitasanationwideclassactionandnotonelimitedtoFloddacitizens.(SeeDE 64at15!63)
   (definingtheclassasa11GGpersonsin theUnited Stateswho ptlrchased atrip insurancepolicyon
   Delta'swebsite'').
           PlaintiffalsocitesExhibitD ofhisM otion.in supportofthenllmerosityrequirement.(DE
   205at15).NothinginthatExhibitoffersevidenceregardingthemzmberofinstlrancepoliciessold
   byDefendantdudngtheclassperiod.(SeegenerallyDE 205-4at2).Therefore,Plnintiffhmsfailed
   tociteanyrecordevidencesupportingthattheFlorida-only classEtissonllmerousthatjoinderof
    a11m em bersisim practicable.''




    zM though Defendanthasnotraised the numerosity issue,Iam required to independently analyze
    the Rule 23(a) factors in determining whether Plaintiff hms established that certifcation is
    appropdatein thiscase.SeeM artinez-M endoza v.ChampionInt1 Corp.,340 F.3d 1200,1216 n.
    37 (11th Cir.2003)(notingatrialcourt'sçlindependentobligation gunderRule23(c)(1)qto decide
    whetheran actionwmsproperlybroughtasaclassaction'').
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          Although itiscertainly tempting to concludethatnum erosity ispresentin lightofthe size

   of Defendant's operations,I m ust resist the temptation as Vega forecloses such speculation.
   M oreover, the decision to deny thisM otion is supported forotherreasons,w llich lnow discuss.g '

          b. A dequacy

          The Gtiadequacy of representation'analysis (encompasses two separate inquides:(1)
   whetherany substantialconflictsofinterestexistbetween therepresentativegjandtheclass;and
   (2)whethertherepresentativeswilladequatelyprosecutetheaction.'''ValleyDrug Co.,350F.3d
   at1189 (quotingIn reHealthsouth Corp.SecuritiesLitigation,213 F.R.D.447,460-461(N.D.
   Ala.2003:. Gtlfsubstantialconflictsofinterestare determined to existnmong a class,class
   certifkation isinappropdate.''Ià

          After reviewing the deposition of Plaintiff, I conclude that he is not an adequate

   representative ofthe putative class. In hisreply,Plaintiffstatesthathe seeks repaymentofall

   moneypaidtoDefendantf'
                        rom tdpinstlranceproceeds.(See,e.g.,DE212at9)(G:n epass-through
   case 1aw is llniform on this point- the acm aldam ages are the am otmt of the kickback Delta

   receivedf'
            rom A11innz.'').ToproperlyseekthesedamagestmdertheGipass-tlu'
                                                                        ough''lineofcues,
   Plaintiff(on behalfpftheputativeclass)wouldhavetoultimately demonstratethatareasonable
   conjllm erw ould believèthatabsolutely ilo trip instzrance proceedsw ere going to D efendant. This

   isbecausednmagestmderthe(çpass-through''theorym'eequivalenttotheundisclosedproht.See,
   e.g.,Turner Greenberg Assocs.,Inc.v.Pathman,885 So.2d 1004,1008 (Fla.4111DCA 2004)
   (G:EAqn appropdate measure ofdnmagesisthe tmdisclosed profit.''l. W hen he wasdeposed,
   Plaintiffwasmsked:ççlwqhen youseethatgthetrip inslzranceproviderqwasadvertising insurance



   3T11is analysis is not exhaustive, nor intended to addressthe meritsof every class certifkation
   requirem entsetforth Rule 23.
                                                   8
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   on (Defendant'sj website,did you assllme that gthe trip instlrance providerj was paying
    (Defendantqto make thatadvertisement? Plaintifftlltimately responded Itgtjhe advertisement,
   yes.''(DE 206at168,PlaintiY sDepositionat116:20-23,117:12).
          PlaintiffthereforebelievesthatDefendantwasreceiving some compensation from thetrip

   instranceproviderforallowing itto advertiseon Defendant'swebsite.Underthisbelief,Plaintiff

   wotlld only be entitled to the portion of the trip insurance proceeds Defendant received that

   exceeded the nnnotmtPlaintiffthoughtDefendantwasreceivl g âom theproceeds.Thisposition

   isirreconcilable with theputativeclass'srequested dnm agesand the theory forthosednm ages-

   the entire nm ountoftrip insurance proceedsDefendantreceived because areasonable consllmer

   WOuldbelievethatDefendantwasnotreceivinganyproceeds.4

          Other portions of Plaintifrs deposition dem onstrate that he is not arl adequate class

    representative. W hilePlaintiffpurchasedtrip insuranceirlOctoberof2017,he did notbelievehe

    had anyclaim againstDefendantforoverayear.(DE 206 at147,PlaintiY sDeposition at77:2-
    7).Indeed,PlaintiffWouldneverhaveknownthathehada,potentialclnim againstDefendanthad
    henotbeen informedby attorneys. PlaintiffwasaskedGlgdqid you think,GImighthaveaclnim
    relatedto tllisinstlrancepolicy,'orwasitsomeoneelsewhogaveyou thatidea?'' (I6Lat77:12-
    14).Plaintiffansweredthathelenrnedaboutlzispotentialclaim whenhewasapproachedbyCEDaIZ
    Busimell,''an attomey,whoisPlaintiY sçtfriend,butalsoasuitematewhere Ehejworks.'' (fJ at
    77:16-78:6).BushnelldidnotapproachPlaintiffuntilmidtolateDecember2018,whichwasover
    oneyearafterPlnintiffpurchasedhistrip insurance9om Defendant.(1d at78:8).




    4Asdiscussedbelow,Irejecttheapplication ofthismeasureofdamagesasitisinconsistentwith
    FDUTPA'Sactualdnmagesstandard.However,thisadequacy discussion dem onstratesthat,even
    mssllm ing Plaintiff'sdnm agetheory isvalid,classcertifkation isinappropdate.
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          Additionally,Plaintiffhastestified thatthebasisforllislawsuitisthatDefendanttldid not

    properly discloseinformationwhen itcom estotheirkavelinsurance and thatthey also obtained a

    commission as a result ofthat'' (16L at 103:9-12). The llnlawfulreceipt ofa commissioh
    contention ispresllm ably baseduponviolationsofFloddainslzrancelaws;Ipreviously dismissed

    thattheoryofliability.(SeeDE 121at16).Theremainingbasisfortllislawsuitrelatestowhether
    Defendant'slack ofdisclosureofitsreceiptoftrip insuranceproceedsisan actionableFDUTPA

    and/orunjustemichmentclaim.Plaintiffoffersno independentfactualbasisforbelieving that
    these clnimshave any merit;instead,he received such inform ation from cotmsel,m enning that

    muchofthefacttzalbasisforPlnintic sclaimswasdedvedfrom counsel.(See,e.g.DE 206at163,
    PlaintiY sDepositionat105:15-25).
           % en considered in isolation,any one ofthese reasons (orthe others nAentioned ùa
    Defendant's response (DE 206 at 15-16)) may not establish that Plaintiff is an inadequate
    representative oftheputative class. However,I nm persuaded by the collective im pactofthese

    factors,andthereforeIconcludethatPlnintiffhasfailedto meethisbtlrden ofestablishing thathe

    isan adequaterepresentativeforthisclass.

    H.     Rule23(b)(3)-W hetherCommon IssuesPredominate
           PlaintiY sM otion suffers anotherflaw- ihdividualissues predom inate. (T O determine

    whether connmon issuespredominate,a distzictcourtsrstmust Gidentify the parties'claim sand

    defenses and their elem ents'and Gthen clmssify these issues as comm on questions orindividual

    questionsby predicting how thepartiesw illprovethem attrial.'''Sellers v.Rushm oreLoan M gm t.

    Senw,LLC,941F.3d 1031,1040 (111 Cir.2019)(quotingBrown v.ElectroluxHomeProds.,
    Inc.,817F.3d 1225,1234 (111 Cir.2016:.tl-f'
                                              hepredominancerequirementinRule23(1843)is
    tfar nlore denaanding'than the commonality requizementfotmd in Rule 23(a)(2),and Gtests


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    whetherproposed classesare suffciently cohesiveto wan'antadjudication by representation.'''
    Carriuolo v.GeneralMotorsCo.,823 F.3d977,985 (111 Cir.2016)(quotingAmchem Prods.,
    Inc.v.Windsor,521U.S.591,623-24(1997)).
           ttcom mon questionsare oneswherethesnm eevidence willsuflke foreach mem ber,and

    individualquestionsareoneswheretheevidencewillvaryfrom mem berto mem ber.''Brown,817

    F.3d at1234. The inquiry then becom es whether com m on questions predom inate overindividual

    ones. The Eleventh Circuit has explained that tlcertifkation is inappropriate when tafter

    adjudication oftheclasswideissues,plaintiffsmuststillintroduceagreatdealofindividualized
    prooforargue a nllm berofindividualized legalpointsto establish m ostora11ofthe elem entsof

    theirindividualizedclaims.'''Sellers,941F.3d at1040(quotingKlay,382F.3dat1255).
          x4. Individualized E videnceR egarding FD UTPA '
                                                         s F irstE lem ent

           In determining whether com mon issues predominate,I ttu'
                                                                  n to the substantive 1aw of

    PlaintiY sclaims.PlaintifffrstbHngsaclaim underFDUTPA,whichçiprohibitsçguqrlfairmethods
    ofcompetition,unconscionable actsorpractices,and Ilnfairordeceptive acts orpractices in the

    conductofanytradeorcommerce.'''Carriuolo,823F.3dat984(quotingFla.Stat.j501.20441:.
    çTheelementscomprisingaconsllmerclaim fordnmagestmderFDUTPA are:(1)adeceptiveact
    or'lmfairpractice;(2)causation;ând (3)actualdnmages.''I6L 1Tosatisfythefrstelement,the
    plaintiffmustshow thattthe alleged practicewaslikely to deceive a consllm eracting reasonably

    inthesnmecirclzmstances.'''1d at983-84 (quotingState,O' ccofthea4#> Gen.v.Commerce
    Comm.Leasing,LLC,946 So.2d 1253,1258 (F1a.1stDCA 2007)). tçunderFlorida law,an
    objectivetestisemployedin determiningwhetherthepracticewaslikelyto deceiveaconsllmer
    acting reasonably.'' Id at984.RA party asserting a deceptive tradepractice ciaim need notshow
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    actualrelianceon therepresentation orom ission atissue.''Davisv.Powertel,Inc.,776 So.2d 971,

    973(Fla.1stDCA 2000).
           Foimultiplesreasons,Itindthatindividualissuespredom inateovercomm on ones.First, '

    itappears thatDefendant's website displays trip instlrance offers in m any differentways.In a

    declaration attachedtoDefendant'sM otion,an individualemployed by thetzip insuranceprovider

    statesthatçEwellover1,000differentoffershavebeenshownto (Defendant'sjUS customersinthe
    (jOfferBoxin (qDefendant'sbookingpath.''(DE 213at7!8).Thedeclaration also statesthat
    Kgaqtanymomentintime,aboutover40distinctoffersareavailabletobedisplayedintheEjOffer
    Box on (Defendant'swebsiteitoUS customers.'' (1d at7 !9).Theapparentvariabilityin the
    oflkrs that consllm ers see when purchasing trip insc ance dem onstrates that individual issues

    predominate.See,e.g.,Cohen v.ImplantIzmovations,259 F.R.D.617,643 (S.D.Fla.2008)
    (exnmple ofwhere individualissuespredominated since putative classmemberswere shown
    differentmatedalthatfonuedthebasisoftheFDUTPA claim).Inthisregard,resolvingtlliscase
    would requireajtlryto determinewhetherareasonable consllmerwouldhavebeen deceivedby
    each distincttrip instzranceoffer.s

           B. Individualized E videnceR egarding D am ages

           M oreover,I 5nd thatthe alleged dnm ages require individualized evidence m nking this

    action notsusceptibleto classdetermination.In ne ving atthisconclusion,Im ustbdefly address
    theGGpass-tlu'
                 ough''FDUTPA lineofcasesupon wllich Plaintiffbasesllisclaim .In thecontextof

    a FD UTPA claim , the cout't in fatman v. Costa Cruise L ines, N P: offered an analogy to

    demonskatethe deceptivenatureoft&pass-through''schem essuch asthe onePlaintiffalleges:



    s'rhisevidencewould also need to beconsidered in thecontextofPlaintiffstmjustemichment
    claim .Specifk ally,itw ould be relevantto w hetheritw ould be inequitable forD efendantto retnin
    som e orallofthe trip insuranceproceeds.
                                                   12
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            Supposethatacompany system atically overchrgesitscustom erson salestnx.The
            hypotheticalcompany paysthe state thesalestax thatitowes,and then keepsthe
            overchargeforitself.

            W e would nothesitateto say thatan intentionalovercharge ofsalestax,which is
            keptby the company itself,isarlllnfairand deceptive t'
                                                                 rade practice and thatthe
            consllmer must be repaid.That is so even though the consum ers clearly were
            willing to pay theprice chrged- in the hypotheticalexnm ple,they acm ally paid
            the salestax overcharges- norwould itmakea differencethattheconsllm erspaid
            no attention to thesalestax nmotmt.
    758So.2d 699,703 (F1a.3d DCA 2000)(citing W S.BadcockCorp.v.Myers,696 So.2d776,
    778-79 (F1a.1stDCA 1996)). W hen a plaintiffsucceedson a claim based upon thisGGpass-
    through''theory,Iidnmagesazesuffkientlyshownbythefactthatthegplaintifflpartedwithmoney
    forwhatshouldhavebeenatpass-through'gqcharge,buttheEdefendantqkeptthemoney.''16Lat
    704 6

            An exnm ination ofcases applying the Gtpass-through''theory dem onskates thatit applies

    where a com pany makes som e ax rm ativem isrepresentation regarding how fllnds itobtainsare

    beingallocated.Takefatman,forexnm ple,wherethedefendantcnziselinerepresentedthatcertain

    feesfortheplaintiffs'ticketswere forGtportcharges.'' 758 So.2d at703. In reali'
                                                                                  ty,however,a

    portion of the GGpol'
                        tcharges''w ere retained by the cruise lines. Flodda's Third D isttict Courtof

    Appealconcluded thatthese allegationsplausibly stated a deceptivepracticeunderFDUTPA.1à

    GT0rpuzposesofFDUTPA,we think the inquiry ishow a re% onable consum erwould interpret

    thç term Gport charges.''' Id The Courtconcluded that the term ttportcharges''çGnecessazily




    œ ecause atthe motion to dism iss stage Plaintiff alleged that Delta overcharged them for trip
    instlrance and keptthatoverchazge,Idei ed Defendant'sM otion to Dismissutilizing the l:pass-
    through''logic within fatman. (DE 121). W hile Inoted thatitmay notbe inequitable for
    Defendantto sim plykeepanadvertising feeforeachpolicy sold,Ifotmd thatPlaintiY sallegations
    thatDefendanthascreated and maintnined a deceptive Rpass-through''schem e suflk esto show
    unjustendchmentatthepleading stage.Ialso utilizedthisGtpass-through''theory in determining
    thatPlaintiffstated an actionable FDU PTA claim .
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    constitutesarepresentation to areasonableconsum erthattheseare Gpass-through'chargeswhich

    thecnziselinewillpaytotherelevantportauthodtiestandpossibly othersl.''Id
           In fact,Plah tiffhas cited casesw hich itbelieves dem onstrate thatan aflsrm ative intention

    representation isnotnecessaryto establish FDUTPA liabilityusing the ûtpass-through''theory.In

    onesuch case,Colemanv.Cubesmart,328F.Supp.3d 1349(S.D.Fla.2018),theplaintiffrented
    a self-storage space at the defendant's store. Pursuant to the defendant's rental contract, the

    pfaintiffwasrequiredto obtain instlranceforthe propertyheintended to storeatthefacility.The
    defendant made a specifk insurance policy readily available to its customers. lt further

    afflrmatively represented that a portion of the inslzrance prem ium covered its expenses ltin

    servicing asa collection agentforthe third-party insurance company.'' 16L at 1355. In another

    portion ofthe rentalagreement,defendantstated thatttlaqny instzrancepremblm ...isbeing
    collected for a third-party insuzance providerptlrsuantto a separate agreem ent'' Id.at 1356. ln

    reality,however,thedefendantwasretaining am uch largerportion oftheinsuranceprem ium than

    itrepresented.
           M agiskateJudgeGoodm an concludedthatthesefactsappliedtotheûlpass-through''theor'y

    ofFDUTPA liability.Judge Goodman reasoned:

           Here,Colèm an has suo ciently alleged thata consllmer acting reasonably in the
           snme circumstances would (orcould)intepretthe representations (in the Self-
           StorageRentalAw eem entandthePersonalProperty InsuranceParticipation Form
           thatCubesmartgavetoColeman)tobethat:(a)athird-party(i.e.,notCubesmat't)
           soldtherenter'sinstzrancepoliciesand(b)CubesmartreceivedonlyaEtportion''of
           the prem blm s paid tGapplicable to the storage com pany's expense in collecting,
           accotmting,and rem itting paym entto the Instzrance Com pany.''

    Coleman,328F.Supp.3d at13629seealsoMaorv.DollarFà/?#'
                                                        /.
                                                         pAuto.Grp.,Inc.,3O3F.Supp.
    3d 1320 (S.D.Fla.2018)tcarrentalservicemisrepresentedthenmountofmoney going to toll-
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    related fees and the damages for such representation equaled the nm olmtofm oney Defendant

    retainedthatwassupposedly goingtothetollfees).
           W ith thebeneEtofdiscoverybeing completed,itis clearthatthe factsin this case differ

    from the above cited casesin severalways. Asone example,wlzilethe trip insurance issold on

    Defendant's website,the fees are collected directly by the inslzrance provider. The insurance

    provider then rem its a portion,albeit a signifk antportion,ofthe fees to D efendant.A s another

    exnmple,Defendantnevermakesany representationregardingwhetheritisbeing compensatedby

    thetrip instlranceprovider.Fora11ofthesereasons,1find significantflawswith PlaintiY stheory

    oflliscmse.

           However,mssmning withoutdeciding,thatPlaintiY stmjustendchmentand FDUTPA
    clahnshavem erit,Iconclude thatthe(tpass-through''m eastzre ofdnm agesshould notbe applied

    totlliscase.Itisnotajustandreasonablemethodofcalculatingdnmagesunderthecircllmstances
    Presented V re. See ComcastCorp.v,Behrend,559 U.S.27 (2013).Asdiscussed,the Glpass-
    O ough''m easure ofdam agesequalsthem oney thatadefendantretainsaAermisrepresentingthat

    them oneywould gotoathirdparty.BecauseFDuTpA providesforactualdnm ages,which appear

    to be ascertainable irlthiscase,Itind thatPlaintiffhasnotshown thatitisproperto utilize the

    çtpass-tllrough''method ofdamagesforthept# osesofdecidillg thisM otion. SeeFla.Stat.j
    501.211(2)($tIn anyaction broughtby apersonwhohmssuffered alossasaresultofaviolation
    oftllispart,suchpersonmayrecoveractualdnmages,plusattorney'sfeesandcourtcosts(.j'').
           Instead,in detenniningwhethercomm on issuespredominateastodnm ages,Ilook towhat

    acm al dam ages putative class m embers may have suffered and the evidence required to

    substantiatesuch dam ages.Gtln the contextofFDUTPA,Gactualdam ages'havelong been defmed

    as çthe difference in them arketvalue oftheproductorsenrice in the condition in wlzich itwas


                                                  15
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    delivered and itsmarketvalue in the c'
                                         ondition in which itshould havebeen delivered according

    tothecontractoftheparties.''' Collinsv.DaimlerchryslerCorp.,894So.2d 988,990(F1a.5th
    DCA 2004)(quotingRollins,Inc.v.Heller,454 So.2d 580,585(F1a.3dDCA 1984)).
           To dem onstrate actual damages Plaintiff would need to show that but-for Defendant

    obtaining aportion ofthetrip insuranceproceeds,he(and putative classmembers)wouldhave
    been able to secure trip insurance ata low errate. Such a showing w ould necessadly require the

    Courtto considerspecifcand individualizedevidenceregardingtheavailability ofaltem ativetrip

    insuranceplans.Thisisbecausetheprice ofthetrip insttranceofferedto Plaintiffandtheputative

    classm embers,andtmderthesametheory theprice ofalternativetl'ip instlranceplanspresllm ably

    fluctuatesbased upon severalvadablesincluding,the particularflightroute,booking date,flight

    date,flighttime,etc. Establishing themeasureofdam ageswould require ahighly individualized

    inquiry,rendedngtheclassaction form ateffectively tmworkable. SeeBrown v.ElectroluxHome

    Prods.,817 F.3d 1225,1240 (111 Cir.2016)(çEllqndividualdnmagesdefeatpredominanceif
    com putingthem çwillbesocomplex,fact-specitk ,and diflicultthattheburden onthecourtsystem

    wouldbesimplyintolerable.'''(quotingKlay,382F.3dat1260)).7
                                            C ON CLU SIO N

           Accordingly, it is ORDERED AND ADJUDGED that Plaintiff's M otion for Class

    Certifkation(DE 205)isDENIED.


    7plaintiY sreliance on the Eleventh Circuit'sdecision in Carriuolo v.GeneralM otors Co.,823
    F.3d977(111 Cir.2016)ismisplaced.Inthatcase,theplaintiffpurchasedacarthathadasticker
    on itfalsely representing the safety ratingsofthe car.Afterfm ding thatthe falserepresentation
    qualifed asaFDUTPA violation capable ofbeing resolved on a class-action basis,theEleventh
    Circuitfotmdthatthepotentialforindividualizeddnm agesdidnotdefeatthisconclusion.Thatwas
    because the dnmages were the difference between the price paid and the pdce a reasonable
    consllm er w ould have paid had she know n of the false representation. H ere, how ever, the
    difference in price a reasonable consllm er w ould have paid for trip instlrance differs based upon
    severalllniquecircllm stancesregardingthe specitk softhatconsllm er'strip.
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          SIGNED inChambersatWestPalm Beach,Flodda,t'2...6 yofJanuary,2020.



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                                      U N ITED STA TES D ISTW CT JUD GE




                                        17
